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       THAT ONE VIDEO ENTERTAINMENT, LLC, a
   7   California limited liability company
   8
                             UNITED STATES DISTRICT COURT
   9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11   THAT ONE VIDEO                            CASE NO: 2:23-cv-02687 CAS (JCx)
       ENTERTAINMENT, LLC, a
  12   California limited liability company,
                                                 [Assigned to the Hon. Stephen V. Wilson;
  13                Plaintiff,                    Ctrm 10A]
          vs.
  14
       KOIL CONTENT CREATION PTY                 DECLARATION OF WILLIAM
  15   LTD., an Australian proprietary           FRANCIS IN SUPPORT OF
       limited company doing business as         PLAINTIFF’S MOTION FOR
  16   NOPIXEL; MITCHELL CLOUT, an               SUMMARY ADJUDICATION
       individual; and DOES 1-25, inclusive,
  17                                             [Motion; Declarations of Jacque Khalil;
                   Defendants.                   Daniel Tracey, Benjamin Lau, Esq., and John
  18                                             Begakis, Esq.; Separate Statement of
                                                 Undisputed Fact; and [Proposed] Order filed
  19                                             concurrently herewith]
  20                                             Hearing
                                                 Date: September 9, 2024
  21                                             Time: 1:30 p.m.
                                                 Dept.: Courtroom 10A (10th Floor)
  22                                                    350 W. First Street
                                                        Los Angeles, CA 90012
  23                                             Judge: Hon. Stephen V. Wilson
  24                                             Action Filed: April 10, 2023
                                                 Trial Date: September 17, 2024
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          DECLARATION OF WILLIAM FRANCIS IN SUPPORT OF PLAINTIFF’S
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   1                      DECLARATION OF WILLIAM FRANCIS
   2         I, William Francis, declare and state as follows:
   3         1.     I am an individual currently residing in the County of Collin, State of
   4   Texas, and am over 18 years of age. I hereby submit this Declaration in support of the
   5   Motion for Summary Adjudication (the “Motion”) filed by Plaintiff THAT ONE
   6   VIDEO ENTERTAINMENT, LLC, a California limited liability company
   7   (“Plaintiff”) against Defendants KOIL CONTENT CREATION PTY LTD., an
   8   Australian proprietary limited company doing business as NOPIXEL (“NoPixel”)
   9   and MITCHELL CLOUT, an individual (“Clout”) (collectively, “Defendants”). I
  10   know all of the following facts of my own personal knowledge and, if called upon
  11   and sworn as a witness, could and would competently testify thereto.
  12         A.     Expert Credentials and Qualifications
  13         2.     I am a software engineer with a Bachelor of Applied Science degree
  14   from the University of North Texas. I am also a certified Amazon Web Services
  15   Solutions Architect, a certified Amazon Cloud Practitioner, and a certified Agile
  16   Game Product Owner.
  17         3.     I have over twenty (20) years of experience in commercial software
  18   development, having worked for some of the most recognizable consulting firms in
  19   the world, including IBM, Accenture, and Ogilvy. During my tenure with these firms,
  20   I was exposed to millions of lines of source code at fortune 500 companies, and led
  21   efforts that included building the software that streamed the 2016 Olympics and U.S.
  22   presidential debates, the first mobile ordering app for a best-selling fast-food chain,
  23   and a global marketing application for the most iconic soft drink on the planet.
  24   Specifically in the video game industry, I have led efforts on gaming titles for Nexon
  25   (one of the world’s 10 largest video game companies), the National Basketball
  26   Association, and Nickelodeon. In 2013, I also single-handedly wrote a mobile game
  27   that hit #1 on Amazon for a day.
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          DECLARATION OF WILLIAM FRANCIS IN SUPPORT OF PLAINTIFF’S
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   1         4.     I have been awarded a patent for a novel, real-time automated technique
   2   for managing access to a virtual private network (“VPN”), which patent was acquired
   3   by IBM. I am also the author of over 200 professional articles for journals that
   4   include Forbes, TechRepublic, and CBS Interactive.
   5         5.     Currently, I am Director of Game Development at a Web3 gaming
   6   studio, where I lead a team of engineers and also perform hands-on game
   7   development. A copy of the curriculum vitae is attached hereto as Exhibit “G” and
   8   incorporated herein by this reference.
   9         B.     Scope of Expert Testimony
  10         6.     I have been retained as an expert in this dispute to testify to: (1) the
  11   similarities between the code originally created by Daniel Tracey for the videogame
  12   server (the “NoPixel Server”) established by Defendants to run the “open world”
  13   videogame entitled “Grand Theft Auto V” (the “Game”), and the code used by
  14   Defendants to operate the NoPixel Server; and (2) the fact that the code originally
  15   created by Mr. Tracey and used by Defendants to operate the NoPixel Server allows
  16   for an individual to join and play on the NoPixel Server without being required to
  17   complete the standard application process at Defendants’ website located at
  18   <https://dashboard.nopixel.net> (the “Website”), which includes accepting the terms
  19   of service set forth thereon.
  20         7.     On or about June 17, 2024, I was designated as an Expert Witness in this
  21   matter without objection. At that time, I also provided an Expert Report, which was
  22   supplemented without objection on July 24, 2024 (the “Report”). Because of
  23   Defendants’ concerns regarding the confidential nature of some of the source
  24   material referenced in my Report, I have also prepared this Declaration, which
  25   includes a summary of my conclusions without specific references to source material.
  26   Everything contained herein, however, can be found in my Report, which complies in
  27   all respects with Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure.
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   1         C.    Scope of Review and Tools Used
   2         8.    To facilitate my search for common code between the code originally
   3   created by Mr. Tracey and the code used by Defendants to operate the NoPixel
   4   Server, I was provided with the following evidence to examine:
   5               •     Read-only access to Mr. Tracey’s approximately twenty thousand
   6                     lines of code, stored in a repository (i.e., a storage location for
   7                     code and other software development assets) on GitHub (i.e., a
   8                     cloud-based service that packages up tools to help developers
   9                     store and manage code, track changes to code being developed,
  10                     and collaborate on development projects), and located at
  11                     <https://github.com/DWJFT/NOPIXEL-INFRA>                 (“Tracey’s
  12                     Repository”);
  13               •     Read-only access to Defendants’ approximately six million, three
  14                     hundred thousand lines of code, stored in a total of forty-five (45)
  15                     different    repositories    on    Github,     and    located     at
  16                     <https://github.com/orgs/ITSKOIL/repositories>       (“Defendants’
  17                     Repositories”);
  18               •     Two spreadsheets provided by the parties regarding the list of
  19                     servers that make up the NoPixel Server, and the amount of code
  20                     contained on those servers; and
  21               •     A publicly-accessible link to log onto the NoPixel Server, located
  22                     at <https://dashboard.nopixel.net/steam/login>.
  23         9.    In conducting my review and analysis, I focused my search on finding
  24   similarities between Mr. Tracey’s code and code stored on Defendants’ Repositories
  25   that made up the functional, infrastructure and operational-related aspects of the
  26   Game as run on the Nopixel Server (“Backend Code”). Defendants’ Repositories
  27   include other code that makes up the gameplay elements of the Game (“Game
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          DECLARATION OF WILLIAM FRANCIS IN SUPPORT OF PLAINTIFF’S
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   1   Code”), but I did not include Game Code in my review because it is my
   2   understanding that Plaintiff does not make any claim to ownership of any Game Code
   3   in Defendants’ Repositories that Mr. Tracey may have written.
   4         10.    My approach to reviewing and evaluating the similarities between the
   5   code in Mr. Tracey’s Repository and the code in Defendants’ Repositories involved a
   6   combination of manual (i.e., expertise based) evaluation, for qualitative analysis, and
   7   automated (i.e., tool based) evaluation, for quantitative analysis. The following tools
   8   were used to assist in the analysis of the code and respective repositories:
   9                •     Cloc (<https://github.com/AIDanial/cloc>);
  10                •     Git-quick-stats (<https://fig.io/manual/git-quick-stats>);
  11                •     Fork (<https://git-fork.com/>);
  12                •     GitHub-Insights (<https://bit.ly/4blgBju>); and
  13                •     Codeleaks (<https://copyleaks.com/codeleaks>).
  14         D.     Findings and Conclusions
  15         11.    Based on my review and analysis, as of December 15, 2022, Mr. Tracey
  16   was the primary contributor to the Backend Code found on Defendants’ Repositories,
  17   contributing to Eighty Percent (80%) of the relevant code located thereon. After
  18   December 15, 2022, the code on Defendants Repositories continued to evolve, but as
  19   of March 14, 2023 (i.e., roughly ninety (90) days later), Mr. Tracey’s contributions
  20   still accounted for Seventy-One Percent (71%) of the Backend Code on
  21   Defendants’ Repositories. Additionally, as of May 15, 2024, Mr. Tracey’s
  22   contributions still accounted for Forty Percent (40%) of the Backend Code
  23   Defendants’ Repositories. I should also note that the fact that around 40% of the
  24   Backend Code is still attributed to code Mr. Tracey wrote does not imply that the
  25   other 60% of Mr. Tracey’s original contributions have been re-written or removed. It
  26   simply means that the NoPixel Server does more today that it did two years ago,
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   1   which shows the continued importance of Mr. Tracey’s original contributions to the
   2   current day-to-day operations of the NoPixel Server.
   3         12.    I am aware that Defendants’ designated rebuttal expert, Garry Kitchen,
   4   has provided a rebuttal report concluding that Mr. Tracey’s contributions actually
   5   only account for 0.57% of all of the code located on Defendants’ Repositories. Mr.
   6   Kitchen comes to this conclusion by comparing Mr. Tracey’s code against both the
   7   Backend Code and Game Code stored on Defendants’ Repositories. However, I see
   8   no logical reason for evaluating Mr. Tracey’s contributions against a combination of
   9   both types of code because Plaintiff is not claiming any ownership in Mr. Tracey’s
  10   contributions to the Game Code – only the Backend Code.
  11         13.    From my review and analysis of both sets of Backend Code, I can also
  12   represent that, as the primary contributor to the Backend Code found on Defendants’
  13   Repositories, Mr. Tracey contributed to the creation of multiple important service
  14   features for the NoPixel Server, including: (i) user registration and age verification;
  15   (ii) login; (iii) notification management; (iv) programmatic payment processing for
  16   various in-Game monetization avenues; and (v) various security features.
  17         14.    I am aware that Defendants’ rebuttal expert, Mr. Kitchen, has attempted
  18   to discredit the above conclusion on the basis that Mr. Tracey didn’t actually “build”
  19   any of the listed service features from scratch. For example, Mr. Kitchen spends a
  20   significant amount of time in his rebuttal report claiming that the NoPixel Server
  21   utilizes an already established third party payment processor, called Tebex, that was
  22   not built by Mr. Tracey. But this opinion is flawed because it incorrectly presumes
  23   that other developers would build such features from scratch. In reality, modern video
  24   games, like the Game, rely on many external, third-party systems to function. But, in
  25   order for a game like the Game to use any of these external third-party systems, one
  26   or more developers must develop code that effectively connects the game to such
  27   systems through application programming interfaces (or “APIs”). Because of the
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    1
                                 CERTIFICATE OF SERVICE
    2
             I HEREBY CERTIFY that a copy of the foregoing electronically filed
    3
        document has been served via a “Notice of Electronic Filing” automatically
    4
        generated by the CM/ECF System and sent by e-mail to all attorneys in the case who
    5
        are registered as CM/ECF users and have consented to electronic service pursuant to
    6
        L.R. 5-3.3.
    7
    8   Dated: August 12, 2024                     By:    /s/ John Begakis
                                                          John M. Begakis
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                                 CERTIFICATE OF SERVICE
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                    EXHIBIT “G”
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                                       SummaryID #:467
William J Francis
Engineering Servant Leader             Proven hands-on technology leader in the video game industry
                                       experienced building happy, high performing engineering teams.


    authorwjf@gmail.com                Success Stories
    (214) 505-5009
    Dallas, TX
                                       ⬜  While at Nexon I managed feature development, tier-3 support and
                                       live ops for a top grossing mobile game. For over 12 months my team
    https://bit.ly/3O6ULMZ             ensured round the clock operations with zero down time. By identifying
                                       and prioritizing significant tech debt I was directly responsible for moving
                                       from quarterly to monthly releases and a > 30% gain in team velocity.

ABOUT                                  ⬜ Consulting with Nickelodeon I architected a strangler-pattern for
                                       moving two native-mobile code bases to a single Unity app. Building a
With a passion for gaming and          POC that proved out seamless switching between native screens and
creative problem solving I have        Unity scenes, the team was able to continue feature development while
                                       transitioning tech stacks without adding headcount.
been lucky enough to work on
gaming titles with the likes of
Nickelodeon, the NBA and most
                                       ⬜ Working with two of the biggest players in the NBA I was able to assess
                                       and retool engineering processes on a web-based game that was in
recently Nexon. I am a patented        serious danger of missing the launch date. By implementing devops
inventor and have over 100             strategies, buy-vs-build analysis, and some hands-on development,
                                       the game landed on time and under-budget.
professional publication credits. I
have managed teams as large as
                                       Experience
thirty and projects with
                                       2024 - Present Infinigods                     Director of Engineering
multi-million dollar budgets.
                                       2022 - 2024      Pixelberry Studios           Engineering Manager
                                       2020 - 2022      Raytheon Intel & Space       Principal Digital Strategist
EDUCATION                              2018 - 2020      ENO8                         Chief Architect

BAS, University of North Texas         2017 - 2018      Accenture                    Solutions Architecture Mgr
                                       2013 - 2017      Bottle Rocket Studios        Senior Engineering Mgr
PORTFOLIO                              2012 - 2013      Timberhorn IT                Mobile Architect

Publications: https://bit.ly/3Q9EqKf   2007 - 2012      IBM’s SoftLayer              Lead Systems Engineer
Games: https://williamjfrancis.com     2006 - 2007      Media Cart                   Sr Software Engineer
Patent: https://bit.ly/3dSsbLo         2004 - 2006      NCR                          Software Engineer
                                       1997 - 2004      Linx Data Terminals          Technical Support Mgr
CERTIFICATIONS
AWS Certified Architect
AWS Certified Practitioner             Core Competencies
Scrum Certified Product Owner
SAFe Certified Agilist                 Technology:
                                       Unity 2D, Solar 2D, Box 2D, Android, iOS, C#, C++, Java, Lua, Lambda,
                                       ElasticBeanstalk, Dynamo, RDS, S3, Route-53, Cloudfront, SQS, SNS, IoT
                                       Gateway, API Gateway, IAM, Cognito, Firebase, Gitlab, Gitflow, Bitrise
VETERAN
United States Army                     Project & Product Management:
                                       Agile Coach, Scrum Master, Roadmaps, Design Thinking, Feature One
                                       Pagers, A/B Testing, Analytics, Campaigns, Estimating, Budgeting, P&L
VOLUNTEER
                                       Leadership
Chairman, Collin College
                                       Managing Through Managers, Managing ICs, Leading Cross-Functional
Web & Mobile Curriculum Advisory       Teams, Comfortable With C-Suite, Engineering COE, Mentoring
